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                             No. 23-5676



             UNITED STATES COURT OF APPEALS
                  FOR THE SIXTH CIRCUIT



                         THOMAS CLARDY,

                                                Petitioner-Appellee,

                                  v.

                       ZAC POUNDS, WARDEN

                                                Respondent-Appellant.


           Appeal from the United States District Court
          Middle District of Tennessee, Nashville Division
                Case No. 3:19-cv-1098 (Trauger, J.)



     BRIEF OF PETITIONER-APPELLEE THOMAS CLARDY



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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-5676                              Case Name: Clardy v. Pounds
 Name of counsel: Scott D. Gallisdorfer

 Pursuant to 6th Cir. R. 26.1, Thomas Clardy
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:
  No




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  No




                                             CERTIFICATE OF SERVICE

                               December 15, 2023
 I certify that on _____________________________________         the foregoing document was served on all
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                                 s/ Scott D. Gallisdorfer




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




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            STATEMENT REGARDING ORAL ARGUMENT

     Clardy agrees with the State that oral argument is warranted. This
appeal involves a complex factual record and presents significant issues of
constitutional law. Oral argument will help the Court evaluate the parties’

opposing contentions. See 6 Cir. R. 34(a).




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                     STATEMENT OF THE ISSUES
     The district court granted Clardy’s habeas petition and vacated his

state court convictions.     It held that Clardy’s trial counsel rendered
ineffective assistance in violation of his Sixth Amendment right. The issues
presented are:

  1. Whether Clardy’s trial counsel performed deficiently by failing to
     present, or even request funding for, expert testimony about the well-
     established reliability problems with eyewitness identifications.

  2. Whether the Tennessee Court of Criminal Appeals unreasonably
     applied clearly established federal law when it held that Clardy could
     not establish prejudice under Strickland v. Washington, 466 U.S. 668

     (1984), because the expert testimony would not have “negat[ed]” the
     eyewitness identification.
  3. Whether Clardy was prejudiced by trial counsel’s deficient
     performance where a single eyewitness identification was the only
     meaningful evidence supporting his convictions.




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                             INTRODUCTION
      “[E]yewitness misidentification accounts for more false convictions in

the United States than any other factor.” Ferensic v. Birkett, 501 F.3d 469, 478
(6th Cir. 2007). As this Court has recognized, jurors place too much weight
on eyewitness identifications because their limitations are counterintuitive

and jurors do not understand the factors that affect their reliability. See id.
at 482-83.   Experts often help.     Expert testimony about the reliability
problems with eyewitness identifications “is now universally recognized as

scientifically valid and of aid [to] the trier of fact.” Id. at 482 (internal
quotation marks omitted).
      Here, the petitioner, Thomas Clardy, was convicted of murder and

sentenced to life in prison based solely on a single, cross-racial eyewitness
identification. Even though that identification was the only meaningful
evidence of his guilt, his trial counsel did not present testimony from an
identification expert. In fact, Clardy’s trial counsel did not even bother to
request court funding for such an expert, even though she knew an expert
was needed and made some effort to find one. She later testified that she
“should have gotten an expert,” but just “decided to go ahead” without one.
      Below, the magistrate judge and the district court both correctly held
that to be deficient performance. Both also held that trial counsel’s failure
prejudiced Clardy’s defense. As an expert testified at a state court post-
conviction hearing, the identification here was riddled with reliability issues.

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Had jurors fully understood those issues, the verdict very likely would have
been different. Rather than recognize this reality, the state court insisted

Clardy had not shown prejudice because he had not “negat[ed]” the
identification. The state court’s analysis was unreasonable, and the district
court’s holding was correct. This Court should affirm the habeas grant.

                       STATEMENT OF THE CASE
      Late at night on July 29, 2005, three black men—all wearing hooded
sweatshirts—pulled up to an auto body shop near Nashville. When they left

a short time later, three people had been shot: Kirk, Kent, and Melissa
Clouatre. Kirk and Kent were twin brothers who ran the body shop. Melissa
was Kirk’s wife. Kirk died at the scene. Kent and Melissa survived, but

suffered serious injuries.
      At first, neither of the surviving victims could identify any of the three
assailants. Kent, who is white, told police he could not even describe them,
other than “male” and “black.” (Transcript, RE 10-2, PageID # 1139.) Nearly
a month later, however, Kent picked Thomas Clardy out of a six-pack photo
array and identified him as the man who shot Kirk and Melissa. Although
police also showed Melissa a photo array that included Clardy’s picture, she
picked out someone different. Still, based solely on Kent’s identification,
Clardy was charged with the shooting. A Tennessee jury convicted him.
      Neither of Clardy’s supposed accomplices have ever been identified.
Besides Kent’s identification, no other evidence links Clardy to the scene.

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The State admitted at trial that it did not know why he would have wanted
to kill the Clouatres. And Clardy has steadfastly maintained his innocence

for nearly two decades.
I.    Clardy is convicted in state court.
      Clardy was indicted on one count of first-degree murder, two counts

of   attempted first-degree murder, and three counts of reckless
endangerment. (Indictment, RE 10-1, PageID ## 934-41.) He pleaded not
guilty to all counts. (Minutes, RE 10-1, PageID # 981.)

      A.    The jury convicts based on Kent’s identification.
      Clardy’s trial took place July 9-11, 2007. (Id. at PageID ## 981-87.)
Kent’s belated identification of Clardy was essentially the State’s entire case.

      Accounts of the Events. Melissa was the State’s first witness. She told
the jury that her husband, Kirk, worked at the auto body shop with his twin
brother, Kent. (Transcript, RE 10-2, PageID ## 1025-26.) According to
Melissa, on July 29, 2005, she drove to the body shop around 10 pm with her
two daughters and another girl to pick up Kirk from work. (Id. at PageID ##
1031-32.) When they arrived, Kirk heard a noise coming from Melissa’s car
and wanted to take a look. (Id. at PageID ## 1032-33.) Kirk pulled it into the
shop’s garage. (Id. at PageID ## 1033-35.) The three girls remained in the car
while Melissa stood nearby. (Id. at PageID # 1035.)
      Melissa told the jury that just then, another car pulled up outside the
shop and “[t]hree guys got out.” (Id. at PageID ## 1037-38.) Two of the men

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walked into the shop and briefly spoke to Kirk and Kent. (Id. at PageID ##
1038-40.) Melissa could not hear their conversation, but she heard Kirk ask

Kent, “where is your gun?” (Id. at PageID ## 1040-41.) Melissa thought the
conversation may have related to a Chevrolet Monte Carlo also parked in
the garage. (Id. at PageID ## 1029, 1033, 1040.)

      According to Melissa, after Kirk spoke with the two men for a few
minutes, he walked back to her car to continue his work. (Id. at PageID #
1041.) Melissa then heard Kent yell, “Kirk, no!” (Id.) She heard four or five

gun shots and saw Kirk fall to the ground. (Id. at PageID # 1043.) Melissa
tried to hide, but the man who shot Kirk then turned and “looked right at
[her].” (Id. at PageID # 1056.) He shot her in the chest, and then left the

garage. (Id. at PageID ## 1044-46.) Kent would eventually claim that this
man—who shot both Kirk and Melissa—was Clardy.
      When Melissa got up, the assailants were gone. (Id. at PageID ## 1047-
48.) She checked on the children, Kent, and Kirk. (Id.) Kent told her Kirk
was dead, and Melissa called 911. (Id. at PageID # 1047.) When police
arrived, Melissa was flushing marijuana down a toilet. (Id. at PageID ##
1060-61.)
      Kent confirmed to the jury that he and Kirk were both working at the
body shop on the night of the shooting. (Id. at PageID # 1076.) Kirk was
working underneath Melissa’s car when the three assailants pulled up. (Id.
at PageID ## 1079-80.) Kent testified that he was standing outside and that

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one of the men rolled down the window and asked him if the Monte Carlo
was inside. (Id. at PageID ## 1080-81.) When Kent said that it was, all three

men got out of the car and walked toward the garage. (Id. at PageID # 1082.)
Two of them, including the driver, went inside. (Id. at PageID ## 1082-83,
1086.) Kent heard gunshots roughly thirty seconds later and saw the driver

shoot Kirk. (Id. at PageID ## 1082-84.) The third man—who was still outside
the garage with Kent—then shot Kent in the arm. (Id. at PageID ## 1087-88.)
Kent tried to run, but the same man shot him again in the back. (Id. at PageID

# 1088.) The three men then returned to their car and drove away. (Id. at
PageID ## 1092-93.)
      Descriptions of the Suspects. Melissa originally told police that four

black men participated in the shooting, but she testified at trial that there
were only three. (Id. at PageID # 1057.) And she could describe only two of
them to the jury. She testified that the man who shot her was “about 5’7”,
150 to 160 pounds and in his late 20s.” (Id. at PageID # 1062.) She said he
was wearing a white t-shirt. (Id.) She described the second man as “male,
black, tall 6’2” not chunky, [with a] blue thing on his head.” (Id. at PageID #
1063.) Melissa testified she never saw the third man. (Id.)
      Although Melissa testified she was “facing” the man who shot her, and
that he had “looked right at [her],” she did not identify him as Clardy. (Id.
at PageID ## 1044-45, 1056.) She also testified that she had been unable to



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make an identification when the police showed her a photo array that
included Clardy.1 (Id. at PageID # 1055.)

      At first, Kent could provide police no meaningful description of the
assailants. (See id. at PageID # 1139.) At trial, however, Kent identified
Clardy as the driver of the car and told the jury he shot Kirk and Melissa.

(Id. at PageID ## 1099-1100.) Kent testified that he had previously seen
Clardy around the neighborhood and had occasionally interacted with him.
(Id. at PageID ## 1083-84, 1100-01, 1113-14.) According to Kent, Clardy went

by the initial “T.”    (Id. at PageID # 1084.) Kent testified that “T” was
“wearing a hood” during the shooting and “[ran] in the shop really quick.”
(Id. at PageID # 1102.) He admitted that he only saw “the side of his face,”

but claimed to recognize “T” anyway. (Id.) Kent testified that “T” was
carrying a “semiautomatic .40 caliber” gun. (Id. at PageID # 1108.)
      Kent described the second man—who shot Kent outside the garage—
as “a little bit heavy set … little shorter” with “gold, I guess, in his teeth” and
“diamonds … set sideways when he gritted at me.” (Id. at PageID # 1087.)
Kent could not describe the third man, but told the jury that all three of the
assailants were wearing hooded sweatshirts. (Id. at PageID ## 1115-16.)


1 Evidence later presented at the state court post-conviction hearing revealed
that Melissa had not just been unable to identify Clardy—she instead picked
out someone different. (Transcript, RE 10-18, PageID ## 2191-92). The jury
did not learn this fact.

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      The jury also heard from Cynthia Quirouette, a police detective who
was the first lead investigator.     Detective Quirouette testified that she

interviewed Kent on the night of the shooting. Although Kent did mention
someone named “T,” he told her “T”’s name might be “Darrel.” (Transcript,
RE 10-3, PageID # 1255.) Later, however, he told Detective Quirouette he

had not seen “T” at the crime scene.         (Id. at PageID # 1256.)      Further
complicating Kent’s account, another detective, Danny Satterfield, testified
that Kent told him “T” had tattoos, a fact also reflected in Detective

Satterfield’s report. (Id. at PageID # 1213.) Yet there is no dispute that Clardy
has never had any tattoos. When Kent was confronted with this discrepancy
at trial, he denied ever mentioning tattoos and could not explain why

Detective Satterfield said he did. (Transcript, RE 10-2, PageID # 1128.)
      Descriptions of the Vehicle.         As for the assailants’ car, Melissa
testified that it was “dark” or “green” with an “oval back,” and was either
“a [Ford] Taurus or a [Mercury] Sable.” (Id. at PageID # 1037.) Melissa had
consistently given police similar descriptions of the car in the days and
weeks following the shooting. (Id. at PageID # 1165; Transcript, RE 10-3,
PageID # 1263.)
      Originally, Kent’s description of the car was completely different.
Kent—who ran an auto body shop and was familiar with car makes and
models—told police immediately after the shooting that the assailants’ car
was an ’87 Buick Century, which hardly resembles a Taurus or Sable.

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(Transcript, RE 10-2, PageID # 1139.) Kent repeated this description several
times over the following weeks, at one point describing the car to police as a

1984 to 1986 Buick Century or Celebrity that was silver or gunmetal grey,
and then later as a “bluish gray ’84 [or] ’86 model Buick with six square
taillights.” (Transcript, RE 10-3, PageID # 1213; Transcript, RE 10-18, PageID

## 2175-77.). At trial, however, Kent abruptly changed course. He instead
told the jury it was a “forest green Ford Taurus.” (Transcript, RE 10-2,
PageID # 1084.) When confronted by his earlier descriptions of the vehicle

as a grey or silver Buick, Kent again claimed that he could not recall making
those statements and could not explain why the police reports repeatedly
said that he did. (Id. at PageID # 1112.)

      Police Testimony and Other Evidence. Detective Quirouette, the
original lead investigator, testified about her efforts to identify the man Kent
supposedly knew as “T.” She told the jury that she could not do so for weeks
after the shooting. (Transcript, RE 10-3, PageID ## 1264-65, 1279, 1284.)
According to Detective Quirouette, Kent did not cooperate with her efforts.
She testified that he treated her disrespectfully and repeatedly interfered
with the investigation.    (Id. at PageID ## 1265-67.)          Another detective
involved in the case confirmed Kent’s refusal to cooperate and speculated he
may have feared being charged with drug crimes. (Id. at PageID ## 1225-26.)
      After Kent refused to sit for more interviews with Detective
Quirouette, she was replaced by Detective Satterfield. (Id. at PageID ## 1225-

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26, 1228.) He identified Clardy as a suspect just three days later, but has
never explained how he did so.      (Id. at PageID ## 1204-05, 1210-12.) On

August 23, 2005—roughly three weeks after the shooting—Detective
Satterfield showed Kent a six-pack photo array that included Clardy. (Id. at
PageID ## 1204-06.) Kent identified Clardy for the first time as the driver of

the assailants’ car and the man who shot Kirk and Melissa. (Id.) Although
at least a portion of the identification procedure was video-recorded, Kent
testified at trial that he picked Clardy out of the array before police began

recording. (Transcript, RE 10-2, PageID # 1115.) And indeed, the video,
which was not introduced at trial, shows Kent telling police he had “already
seen” Clardy just as the array is being handed to him by Detective

Satterfield. (Transcript, RE 10-17, PageID # 2075.)
     Besides Kent’s belated identification, the State introduced no other
evidence tying Clardy to the scene.       A police crime scene investigator
testified about various items found there, including shell casings, live
rounds, projectile fragments, and a 9 mm gun found under Kirk’s elbow.
(Transcript, RE 10-3, PageID ## 1181-1200.) But he told the jury that Clardy’s
fingerprints were not on any of these items. (Id. at PageID ## 1199-1200.)
Detective Satterfield testified that police believed the 9 mm gun belonged to
Kirk. (Id. at PageID # 1207.) He also told the jury that police had conducted
ballistics testing on the shell casings and projectile fragments, but had not



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identified matches to any other guns. (Id. at PageID # 1208.) Nor did the
State introduce any DNA evidence.

     Clardy’s Defense. Clardy’s defense was mistaken identification. His
counsel sought to highlight inconsistencies in the two surviving victims’
accounts as well as the lack of any other evidence tying him to the scene.

Clardy also sought to present testimony from two alibi witnesses: his then-
wife, Roylessha Mason, and her friend, Shakisha Thompson.
     Mason testified that she was pregnant at the time of the shooting and

just been ordered to bedrest by her doctor. (Id. at PageID # 1301.) She
testified that she was home with Clardy that night. (Id. at PageID ## 1303-
05.) She remembered the night specifically because, around 7:30 or 8:00 pm,

her friend, Shakisha Thompson, picked up Mason’s son to take him bowling.
(Id. at PageID # 1305-08.) According to Mason, Clardy was home when
Thompson brought her son back later that night. (Id. at PageID # 1308.)
     Mason tried to testify that Clardy was at home with her the entire
evening and never left. (Id. at PageID # 1307.) But the State objected that
Clardy had not provided the proper alibi notice for Mason. So the Court
instructed the jury to disregard this testimony.2 (Id. at PageID ## 1307-08.)


2 The State elicited similar testimony from Mason on cross-examination, but
this came only a few minutes after the Court had already told the jury that it
could not consider the testimony when offered on direct. (See Transcript, RE
10-3, PageID # 1311.)

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Still, Mason testified that Clardy has never had tattoos or gold teeth, which
meant he would not have matched the descriptions that Kent gave police.

(Id. at PageID ## 1310-11.) Mason acknowledged that the couple owned a
green Mercury Sable, but explained that it had blown a gasket and was
inoperable at the time of the shooting. (Id. at PageID ## 1309-10.) She told

the jury it was later towed from their apartment complex. (Id.) The State
offered nothing to rebut this testimony.
      Mason’s friend, Shakisha Thompson, confirmed that she had picked

up and dropped off Mason’s son on the night of the shooting. Thompson
testified that she arrived at Mason and Clardy’s home around 7:30 or 8:00
pm and Clardy was there. (Id. at PageID ## 1322-23.) When she returned,

sometime between 10:30 and 11:00 pm, Clardy met her at the door. (Id. at
PageID # 1324.) Thompson told the jury Clardy was “calm,” did not seem
nervous, and was neatly dressed in a shirt, shorts, and a pair of “[g]randpa
slippers.” (Id. at PageID ## 1324-25.)
      The only other witness Clardy’s trial counsel called was Detective
Quirouette. Although the State’s entire case hinged on Kent’s identification,
Clardy’s counsel did not present any expert testimony related to eyewitness
identifications.
      Closing Arguments and Jury Verdict. The State’s closing argument
focused almost entirely on Kent’s identification of Clardy. Although the
State had vaguely referred to several possible disputes that “T” might have

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had with Kent or Kirk, the prosecutor frankly admitted that the State could
not identify any coherent motive, telling the jury, “we don’t know why

[Clardy] did it.” (Id. at PageID # 1332.) The prosecutor argued that Clardy
and “two of his friends” were responsible for the shooting, but did not even
hazard a guess as to who these “friends” were. (Id. at PageID # 1333.) The

State argued that Mason, Clardy’s wife, was “not credible.” (Id. at PageID #
1336.) And although the prosecutor admitted that her friend, Shakisha
Thompson, did “appear[] credible,” he argued that she could not provide

Clardy an alibi because she was out with Mason’s son when the shooting
occurred. (Id. at PageID # 1337.) According to the prosecutor, that gave
Clardy a “window to commit the crime.”3 (Id.)

     In her own closing argument, Clardy’s trial counsel again sought to
highlight the discrepancies in Kent’s testimony, stressing his original claim
that “T” had tattoos and was driving a grey Buick. (Id. at PageID ## 1340-42,
1344.) She also reminded the jury that Kent testified he had only seen “T”
from the side and that “T” had tried to conceal his face with the hood of his


3 This “window” was at most only a few minutes. Melissa called 911 at 10:48
pm. (See Transcript, RE 10-18, PageID # 2248.) Yet Thompson testified that
she saw Clardy at home, “calm” and neatly dressed, sometime between
10:30 and 11:00 pm. (Transcript, RE 10-3, PageID ## 1324-25.) Evidence
introduced at the post-conviction hearing showed that the shop was roughly
ten miles, or fifteen minutes, from Clardy’s home. (Transcript, RE 10-18,
PageID ## 2249.)

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sweatshirt. (Id. at PageID ## 1344-46.) Still, without any expert testimony on
which to rely, Clardy’s trial counsel could not tell the jury how often

eyewitnesses get it wrong. Nor was she able to highlight the scientific
research that has associated many of the features of Kent’s identification
with diminished reliability.     Perhaps most importantly, without expert

testimony, Clardy’s counsel had no evidentiary basis for informing the jury
that an eyewitness’s confidence in an identification is known to have little
correlation with accuracy.

       Even without a motive, any identified accomplices, or any physical
evidence tying Clardy to the scene, the jury convicted him on all counts. He
received a mandatory life sentence. (Trial Record, RE 10-1, PageID ## 988-

93.)
       B.    The TCCA affirms on direct appeal.
       The Tennessee Court of Criminal Appeals (the “TCCA”) affirmed
Clardy’s convictions. State v. Clardy, 2009 WL 230245 (Tenn. Ct. Crim. App.
Feb. 2, 2009). The Tennessee Supreme Court denied discretionary review.
See id.
II.    Clardy seeks post-conviction relief in state court.
       Clardy filed a petition for post-conviction relief in state court. He
asserted several claims of ineffective assistance of trial counsel, as well as
actual innocence. (Amended Petition, RE 10-14, PageID ## 1734-52.) Among
these claims was that Clardy was denied effective assistance of counsel

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because his trial counsel failed to present expert testimony on eyewitness
identifications.   Trial counsel did not even request funding for such

testimony from the court. (Id. at PageID ## 1741-42.)

      A.    Clardy presents new evidence, including expert testimony on
            eyewitness identifications.

      The trial court held a hearing on the post-conviction petition in
September 2016. Clardy presented a wide array of new evidence.
      Expert Testimony. Most relevant to this appeal was testimony from
Dr. Jeffrey Neuschatz, a forensic psychologist and professor at the
University of Alabama at Huntsville. (Transcript, RE 10-17, PageID ## 2043-
91.) Dr. Neuschatz is an expert on human memory, particularly as it relates
to eyewitness identifications.       He has published widely on various
psychological factors that influence the reliability of such identifications. Dr.
Neuschatz reviewed the trial testimony, police reports, and other case
materials and testified about how those factors could have affected the
reliability of Kent’s identification of Clardy.
      Dr. Neuschatz first told the court about studies showing that human
memory is less reliable when memories are imprinted during fluid, complex,
or stressful situations. In those circumstances, he explained, the mind tends
to “fill in the pieces … to tell consistent stories,” even if those pieces are not

entirely accurate. (Id. at PageID # 2051.) As time passes, the mind continues
to “edit and change” memories to “fill in the gaps,” again in ways that may

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not reflect reality.   (Id.)     Dr. Neuschatz agreed that the shooting Kent
witnessed was an example of a “complex” and “high-stress” event. (Id. at

PageID # 2052-57.)
      Dr. Neuschatz also testified that “[l]onger exposure times”—the length
of time a witness has to view a face, for instance—“are better for memory.”

(Id. at PageID # 2053.) This was potentially important because Kent testified
that “T” ran into the body shop “really quick” and that he had only “seen
the side” of “T”’s face. (Transcript, RE 10-2, PageID # 1102.) Kent also

testified in detail about the gun “T” was carrying.                According to Dr.
Neuschatz, based on a concept known as “weapon focus,” identifications
tend to be less reliable when a gun is present. (Transcript, RE 10-17, PageID

## 2057-60.) That is because the gun acts as a “magnet” for the witness’s
attention, pulling it away from the person’s face. (Id. at PageID # 2059.)
      As for the cross-racial nature of Kent’s identification, Dr. Neuschatz
confirmed that many scientific studies have shown that “people have more
difficulty identifying people from different races than they do identifying
people from their own race.” (Id. at PageID ## 2062-63.) According to Dr.
Neuschatz, people are around 1.6 times more likely to make an error when
trying to identify someone of a different race than their own. (Id. at PageID
# 2064.) Head coverings only compound this difficulty. Dr. Neuschatz told
the court that accuracy “suffers dramatically” when a witness tries to
identify someone who was wearing a hat, hood, or similar clothing that

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covered the hairline. (Id. at PageID # 2064-65.) Kent, of course, testified that
Clardy had “tried to hide” his identity by wearing a hooded sweatshirt.

(Transcript, RE 10-2, PageID # 1102.)
      Dr. Neuschatz also testified about factors external to an event that
influence memory. First, he explained that receiving post-event information

can “dramatically change someone’s memory.”                (Transcript, RE 10-17,
PageID ## 2066-67.) Dr. Neuschatz described studies showing significant
changes to a witness’s recollection of an event based even on a single word

later used by someone else to describe the event. And he agreed that a
witness’s memory could “absolutely” be detrimentally affected by later
conversations with police officers or other witnesses. (Id. at PageID # 2067.)

      In addition, Dr. Neuschatz described a phenomenon known as
“unconscious transference.” (Id. at PageID ## 2067-68.) That occurs when a
witness confuses or transfers details of one memory into another memory
from a similar time or context. Based on this concept, Dr. Neuschatz agreed
that Kent’s alleged familiarity with Clardy from around the neighborhood
could have caused him to confuse Clardy for the man who shot Kirk and
Melissa. (Id. at PageID ## 2069-70.) So, while the State had argued that
Kent’s professed familiarity with Clardy made his identification more
credible, Dr. Neuschatz suggested it may have had the opposite effect.
      Dr. Neuschatz likewise threw cold water on the notion that Kent’s
confidence in his identification lent it any particular credibility. According

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to Dr. Neuschatz, psychology research has repeatedly shown that an
eyewitness’s confidence in an identification has near “zero” correlation with

accuracy, at least when the identification is not made immediately after the
event. (Id. at PageID # 2070-71.) Here, Kent did not identify Clardy until
more than three weeks after the shooting.

      Finally, Dr. Neuschatz opined on the procedure police used when Kent
first identified Clardy from a photo array. Dr. Neuschatz testified that he
had watched the video recording of the procedure and believed it

contradicted best practices in at least two respects: first, it was not double-
blind; and second, police did not appear to ask Kent about his confidence in
the identification. (Id. at PageID ## 2073-75.) Dr. Neuschatz also noted that

the video showed Kent saying he had “already seen” the photo of Clardy
before the array was handed to him, an anomaly that Dr. Neuschatz could
not explain. (Id. at PageID # 2075-77.)
      Trial Counsel’s Testimony. Pat Snyder, Clardy’s trial counsel, also
testified at the post-conviction hearing.
      Snyder told the court that Clardy was initially a retained client, and
that she had talked with one of his relatives about possibly financing an
eyewitness identification expert. (Transcript, RE 10-18, PageID # 2204.)
According to Snyder, the Administrative Office of the Courts “was not
paying expert witness’s fees that were being billed” and “there was difficulty
in trying to get some expert witnesses that we could even afford, or one who

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would be willing to take the state fees if we got [Clardy] declared indigent.”
(Id. at PageID ## 2204-05.) Snyder recalled discussing with Clardy that “the

only evidence [the State] had … was [Kent’s] identification,” and she
expressly agreed that “I should have gotten – I apparently should have
gotten an expert witness.” (Id. at PageID # 2205.) She described making

efforts to find an expert, but testified that she eventually just “decided to go
ahead” to trial without one. (Id.)
      Snyder admitted that she never filed a motion requesting court

funding for an expert. (Id. at PageID # 2206.) Explaining that she “wanted
to find one first,” she described calling various experts on a list maintained
by the Tennessee Association of Criminal Defense Lawyers. (Id.) She also

looked for an expert out-of-state. But Snyder testified that she “couldn’t find
one that either we could afford or would be willing to come down and do it
for what the State of Tennessee was paying.” (Id.) Snyder did not identify
what that amount was, nor did she explain how she could have known what
the State would pay without ever asking for funding in the first place. And,
critically, Snyder admitted that she didn’t know “any reason why the Court
wouldn’t have approved” funding had she asked. (Id. at PageID # 2213.)
      Snyder heard Dr. Neuschatz’s testimony, and she told the Court that
“some of the juries that I’ve dealt with would have hated him.” (Id. at
PageID # 2233.) Still, Snyder testified it was possible that similar expert
testimony would have changed the verdict, and she admitted that “I should

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have got a trial continuance to try to get an expert somewhere and I didn’t.”
(Id. at PageID # 2241.)

      Other Exculpatory Evidence.          In support of his other ineffective
assistance claims, Clardy also presented a wide variety of additional
exculpatory evidence.4 This evidence included the alibi testimony from

Clardy’s then-wife that the court had instructed the jury to disregard at trial.
(Transcript, RE 10-18, PageID ## 2285-88.) Clardy also presented brand new
ballistics testing results that connected two of the guns used at the body shop

to a pair of cousins with whom Clardy has no connection. (See generally
Petition, RE 1, PageID ## 23-27.) These cousins had later used the guns when
committing another murder and participating in an armed cocaine sale. One

of the cousins had tattoos and unique gold teeth with clear cutouts, closely
mirroring Kent’s original descriptions of the shooters.
      B.    The trial court denies post-conviction relief.
      The state trial court denied Clardy’s petition for post-conviction relief.
(Order, RE 10-16, PageID ## 1980-88.) Rejecting the eyewitness expert claim,
the court held that Clardy could not establish prejudice. (Id. at PageID #
1983.) The court did not address whether trial counsel’s failure to fully
pursue expert testimony amounted to deficient performance.



4 This additional evidence is described in far greater detail in Clardy’s
petition. (See Petition, RE 1, PageID ## 23-27, 32-38, 40-42.)

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       C.    The TCCA affirms the denial of post-conviction relief.
       The state appellate court affirmed. See Clardy v. State, 2018 WL 5046032

(Tenn. Ct. Crim. App. Oct. 17, 2018) (“Clardy II”). Addressing the ineffective
assistance claim tied to the lack of an eyewitness identification expert, the
TCCA first summarized the post-conviction testimony of Dr. Neuschatz and

Clardy’s trial counsel. But the court then offered just two sentences of
analysis, addressing only the prejudice element of the claim:

       Dr. Neuschatz could not opine as to the correctness of Kent’s
       identification. Merely giving a jury more information to
       consider without negating the identification does not establish a
       reasonable probability, sufficient to undermine the outcome,
       that the result of the proceeding would have been different.

Id. at *7. Like the trial court, the TCCA declined to address whether trial
counsel’s performance was deficient. The Tennessee Supreme Court again
denied discretionary review.
III.   The district court grants Clardy’s federal habeas petition.
       Clardy then filed a timely federal habeas petition in the Middle District
of Tennessee. (Petition, RE 1, PageID ## 1-84.) Clardy’s petition asserted

several ineffective assistance claims, including that trial counsel was
ineffective because she failed to obtain or seek funding for an eyewitness
identification expert. The State answered the petition and opposed relief.
(Answer, RE 12, PageID ## 2849-73.)


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      The magistrate judge recommended that Clardy’s petition be granted.
(Report & Recommendation, RE 25, PageID ## 2931-2971.) The magistrate

judge concluded that Clardy’s trial counsel performed deficiently because
she failed to request funding for an eyewitness identification expert. (Id. at
PageID # 2953.) In the magistrate judge’s view, that failure prejudiced

Clardy’s defense because Kent’s identification of Clardy was the “central
issue at trial” and, without expert testimony, “the jury had no basis beyond
defense counsel’s word to suspect [its] inherent unreliability.” (Id. at PageID

## 2960-61.)
      The district court agreed. It adopted the magistrate judge’s report and
recommendation, over the State’s objection, in a 19-page opinion.

(Memorandum, RE 34, PageID ## 3064-3082.) The district court determined
that trial counsel’s performance was deficient because she “recognized that
[Kent’s] eyewitness identification was effectively the only evidence the
government had against Clardy, and she acknowledged … that she
‘apparently should have gotten an expert witness,’” but “admitted that she
never actually requested funding from the state.” (Id. at PageID # 3072.) The
court noted that it could not “imagine” any legitimate strategic reason for
failing to seek funding for an expert whose testimony trial counsel herself
“believed to be critical to the case.” (Id.)
      The district court also agreed that trial counsel’s failure prejudiced
Clardy’s defense. First, the court held that the TCCA’s prejudice analysis

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was not a reasonable application of the Supreme Court’s decision in
Strickland v. Washington, 466 U.S. 668 (1984). The court explained that while

the TCCA “paid lip service” to Strickland’s ‘reasonable probability’ standard,
it actually applied a far more rigorous one. (Memorandum, RE 34, PageID #
3078.) That is because the TCCA suggested that Clardy could establish

prejudice only if the expert testimony “negat[ed]” Kent’s identification. The
district court viewed that analysis as tantamount to requiring definitive
proof of actual innocence, which was “contrary to Strickland.” (Id.)

     Analyzing prejudice de novo, the district court concluded there was
“more than a reasonable probability” that testimony from an expert like Dr.
Neuschatz would have changed the jury’s verdict. (Id. at PageID # 3080.)

Noting the “exceedingly weak” evidence of Clardy’s guilt, the district court
explained that expert testimony would likely have changed the outcome by
offering the jury “a scientific, professional perspective” on Kent’s
identification “that no other witness provided.” (Id. at PageID ## 3080-81.)
Noting the “copious evidence in the record establish[ing] numerous
inconsistencies in Kent Clouatre’s testimony,” the court concluded that
expert testimony “would have been particularly helpful” to inform the jury




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“why the eyewitness identification was inherently unreliable.” (Id. (cleaned
up).) That made Strickland prejudice “abundantly clear.”5 (Id. at 3082.)

     The district court conditionally granted a writ of habeas corpus and
ordered that Clardy be released or retried within 180 days. (Order, RE 35,
PageID # 3083.) The State appealed.6

                    SUMMARY OF THE ARGUMENT

     The district court correctly held that Clardy’s trial counsel was

constitutionally ineffective and properly granted habeas relief. In reaching

the opposite conclusion, the state court did not reasonably apply the

prejudice standard from Strickland v. Washington, 466 U.S. 668 (1984).




5 The district court did not address the remaining ineffective assistance
claims, which the magistrate judge had recommended denying. Because the
district court granted habeas relief, it determined those remaining claims
were “moot.” (Memorandum, RE 34, PageID # 3082.) While not addressed
by the district court, those claims were fully briefed below and any one of
them may provide an alternative basis for affirming the judgment. That said,
if this Court believes those claims need be resolved, the better course would
be to remand to the district court so that it may address them first.

6 The district court stayed its judgment, but ordered the State to release
Clardy from custody pending appeal. (Order, RE 50, PageID # 3196.)

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      I.     Clardy’s trial counsel performed deficiently by failing to obtain

or even request funding for expert testimony on the reliability problems

associated with eyewitness identifications.

      A.    The TCCA did not address Strickland’s deficient performance

prong. It instead resolved the claim solely on the prejudice prong. So this

court must assess trial counsel’s performance de novo, without deference to

the state court.

      B.     The district court correctly held that trial counsel’s performance
fell below an objective standard of reasonableness. Trial counsel recognized
that Kent’s identification of Clardy was the State’s entire case. For that
reason, she sought to obtain an expert to testify about eyewitness
identifications. But despite making some effort to find an expert whom
Clardy could afford, trial counsel never requested funding from the court.
That was based purely on her own speculation that the court would not have
provided the necessary funding. Because the identification was central to
the case, failing to even ask the court for funding fell woefully short of

professional norms.
      II.    Trial counsel’s deficient performance prejudiced Clardy’s
defense.

      A.     The TCCA’s prejudice analysis is not entitled to deference. The
TCCA unreasonably applied Strickland’s prejudice standard by concluding
Clardy could not show prejudice solely because expert testimony would not

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have “negat[ed]” Kent’s identification. That effectively required conclusive
proof of actual innocence. Strickland’s prejudice standard is not nearly so

demanding, and the TCCA’s analysis was, therefore, unreasonable.
      B. The district court correctly held that Strickland prejudice here is
“abundantly clear.” This case turned on a single eyewitness identification,

and many factors associated with diminished reliability were present here.
Because these issues are counterintuitive, expert testimony was essential to
explain them to the jury. Had an expert testified at trial, there is more than

a reasonable probability of a different verdict.
                            STANDARD OF REVIEW
      I.     This court reviews de novo a district court’s grant of a writ of a

habeas corpus. Burton v. Renico, 391 F.3d 764, 770 (6th Cir. 2004).
      II.    The Antiterrorism and Effective Death Penalty Act of 1996
(“AEDPA”) governs this case. Under AEDPA, when a state court holds that
trial counsel was not ineffective, a federal court may grant habeas relief only
if that decision “was contrary to, or involved an unreasonable application of,
clearly established Federal law, as determined by the Supreme Court of the
United States.” 28 U.S.C. § 2254(d)(1).
      A state court’s decision is “contrary to” clearly established federal law
if the state court arrives at a conclusion opposite to that reached by the
Supreme Court on a question of law. Williams v. Taylor, 529 U.S. 362, 413
(2000). A state court unreasonably applies clearly established federal law if

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it “identifies the correct governing legal principle” from the Supreme
Court’s decisions “but unreasonably applies that principle to the facts of the

prisoner’s case.” Id.
      This court looks to “the last reasoned state court opinion” to determine
whether these requirements are satisfied. Guilmette v. Howes, 624 F.3d 286,

291 (6th Cir. 2010) (en banc). Here, that is the TCCA’s decision affirming the
trial court’s denial of post-conviction relief. See Clardy II, 2018 WL 5046032.
                                ARGUMENT

      The district court correctly held that Clardy is entitled to habeas relief
because he did not receive the effective assistance of trial counsel guaranteed
by the Sixth Amendment. Under Strickland, a criminal defendant is denied

effective assistance if (i) counsel’s performance was deficient; and (ii) the
deficient performance prejudiced the defense. Strickland, 466 U.S. at 687.
Both requirements are satisfied here. As the district court recognized, the
TCCA unreasonably applied clearly established federal law when it
concluded otherwise.
I.    Trial counsel’s performance was deficient.
      Clardy’s trial counsel performed deficiently by failing to present
expert testimony on eyewitness identifications. Despite recognizing the
importance of such testimony for Clardy’s defense, trial counsel did not even
request funding from the court. Nothing excuses that failure.



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      1. As the State concedes, this Court must assess counsel’s performance
de novo without deference to the state court. See Opening Br. at 37. The

TCCA did not reach Strickland’s deficient performance prong; it instead
rejected Clardy’s ineffective assistance claim based solely on the prejudice
prong. Clardy II, 2018 WL 5046032, at *6-7. So, as to this Court’s review of

counsel’s performance, AEDPA plays no role. See Rayner v. Mills, 685 F.3d
631, 638 (6th Cir. 2012) (“AEDPA deference does not apply to review of [a]
Strickland prong not relied upon by the state court.”).

      2.   To establish deficient performance, Clardy must show “that
counsel’s representation fell below an objective standard of reasonableness”
as measured by “prevailing professional norms.” Strickland, 466 U.S. at 688.

To be sure, that standard is a deferential one.7 Courts must avoid relying on
“the distorting effects of hindsight” to “second-guess” reasonable “tactical”
and “strategic” choices, even when those decisions have gone awry. Id. at
689-90. But the Supreme Court has also made clear that courts should not
reflexively defer to any purportedly “strategic” decision, especially one not



7 The State’s brief suggests that this case is subject to “doubly” deferential
review. See Opening Br. at 22-23. Not so. “Doubly” deferential review refers
to applying AEDPA deference on top of the deference already owed to
counsel’s choices when analyzing Strickland’s deficiency prong. AEDPA
deference does not apply to the deficiency prong here, so there is no double
deference. See, e.g., Hardy v. Chappell, 849 F.3d 803, 825 (9th Cir. 2016).

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supported by adequate investigation. See id. at 690-91. And, as to expert
testimony, the Supreme Court has recognized that “[c]riminal cases will

arise where the only reasonable and available defense strategy requires
consultation with experts or introduction of expert evidence.” Harrington v.
Richter, 562 U.S. 86, 106 (2011).
      A.    By failing to request funding for an expert, trial counsel’s
            performance fell well short of prevailing professional norms.
      The deficient performance standard is more than satisfied here. As the
TCCA recognized, Kent’s eyewitness identification was “the only thing
linking [Clardy] to the crime.” See Clardy II, 2018 WL 5046032, at *4. From
the outset, therefore, it was obvious that the jury’s verdict would turn
entirely on the perceived reliability of that identification.
      1.   That put Clardy in a precarious position.            As this Court has

recognized, “juries are unduly receptive to identification evidence and are
not sufficiently aware of its dangers.” United States v. Smithers, 212 F.3d 306,
312 n.1 (6th Cir. 2000); see also United States v. Nolan, 956 F.3d 71, 75 (2d Cir.
2020) (“Eyewitness identification testimony is notoriously prone to error.”).
“Jurors tend to overestimate the accuracy of eyewitness identifications
because they often do not know the factors they should consider when

analyzing the testimony.” Smithers, 212 F.3d at 312 n.1. Expert testimony is
critical in cases like this one to help mitigate that danger. Because “many
aspects of perception and memory are not within the common experience of


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most jurors” and are “counter-intuitive,” this Court has “recognized the
expediency of expert testimony to address these complex issues and to

inform jurors fully of the issues they must decide.” Id. at 316.
      2. Clardy’s trial counsel herself recognized that expert testimony was
needed. She admitted that she “should have gotten an expert witness,” and

testified that the kind of testimony Dr. Neuschatz offered could have
changed the verdict. (Transcript, RE 10-18, PageID ## 2205, 2241.) She also
described the efforts she made to find an expert. Those efforts confirm that

she understood the need for one at the time, not just in hindsight. Still, trial
counsel did not obtain an expert, explaining that she could not find one
whom Clardy could afford, or who would accept the fees that she expected

the Administrative Office of the Courts would pay. (Id. at PageID # 2206.)
But trial counsel admitted she never requested funding from the court. (Id.)
And she admitted that she “should have got a trial continuance to try to get
an expert somewhere,” but did not. (Id. at PageID # 2241.) Trial counsel
speculated about whether the court would provide the necessary funding, but
never bothered to confirm whether that speculation was correct.
      In essence, trial counsel did not undertake the basic investigation—
filing a motion for funding with the court—necessary to reach an informed
conclusion about whether adequate funding was available. Given how
crucial an expert witness was to Clardy’s defense, that lack of basic
investigation fell woefully short of prevailing professional norms, as the

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district court correctly recognized. In a case where a single eyewitness
identification was the only meaningful evidence of guilt—and where trial

counsel herself recognized the need for expert testimony to rebut that
identification—there is no reasonable justification for not even asking the
court for funding. Trial counsel barely even tried to offer one—she instead

testified that she just “decided to go ahead with it.” (Transcript, RE 10-18,
PageID # 2205.) That is textbook deficient performance.
      B.     Precedent supports the district court’s deficiency analysis.

      1. Supporting that conclusion, several other courts have held that a
criminal defense lawyer performed deficiently in similar circumstances. In
United States v. Nolan, the Second Circuit confronted a case where a jury had

convicted     the   defendant   “relying    almost    entirely    on   eyewitness
identifications.” 956 F.3d at 75. Although that case featured four eyewitness
identifications, the court observed that all four “bore significant indicia of
unreliability”—including many of the same indicia that Dr. Neuschatz
testified about here. Id. Still, trial counsel chose not to call or even consult
an expert, and instead tried to impeach the identifications through cross-
examination and closing argument. The Second Circuit panel unanimously
held that was deficient performance.           As the court explained, “the
eyewitness testimony was sufficiently unreliable in ways not readily




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apparent to a lay jury.”8 So, while the court acknowledged that “Strickland
ordinarily does not require defense counsel to call any particular witness,”

it concluded that under the circumstances, “counsel could not render
effective assistance without input from an expert.” Id. at 82.
      The District of Columbia Court of Appeals reached a similar

conclusion in Jones v. United States, 262 A.3d 1114 (D.C. 2021). There, too, the
defendant was convicted based mostly on eyewitness identifications. Trial
counsel, however, did not call an expert witness “because he thought the

identification evidence was already weak.” Id. at 1121. He instead chose to
“highlight[] the inconsistencies and inaccuracies” in the witnesses’
testimony himself. Id. at 1121. Despite that strategic justification, the court

held that trial counsel performed deficiently. The court explained that
“many jurors have basic misunderstandings about the way memory works
and about specific circumstantial factors that affect the reliability of
eyewitness identifications.” Id. at 1125. Jurors, the court emphasized, are
“decidedly not as competent as the expert in considering and weighing



8 Like in this case, the identifications in Nolan were cross-racial; the suspects
were wearing head coverings; they were carrying weapons; the witnesses
were victims who were under stress; several weeks had elapsed between the
crime and when the defendant was first identified from a photo array; and
the “police employed highly irregular procedures in pursuing the witnesses’
identification.” Nolan, 956 F.3d at 80-81.

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eyewitness evidence to draw the appropriate and necessary conclusion.” Id.
at 1128 (internal quotation marks omitted). For that reason, the court

unanimously concluded that the “situation” presented there—where “the
government’s case hinged primarily on … eyewitness testimony”—was
“one in which professional norms require counsel to explore … calling an

expert witness to testify.” Id. So too here.
      Another district court within this circuit has also reached that same
conclusion. See Ferensic v. Birkett, 451 F. Supp. 2d 874 (E.D. Mich. 2006), aff’d

on other grounds, 501 F.3d 469 (6th Cir. 2007). Ferensic was similar to this case
in that trial counsel there recognized the need for expert testimony to
address the eyewitness identifications, which were “the crucial basis for [the

petitioner’s] conviction.” Id. at 884. Much like in this case, however, trial
counsel did not take the necessary steps to ensure such testimony could be
presented—there, he did not timely disclose the expert’s report. Although
trial counsel was still able to “challenge inconsistencies” in the eyewitnesses’
testimony through cross-examination and highlight “inherent problems”
with the identifications through attorney argument, the district court still
held that trial counsel’s failure was deficient performance. Id. at 883-85.
After all, “without [the expert’s] testimony, there was no evidence to support
counsel’s argument.” Id.
      2. The State observes that “[n]o precedent establishes that defense
counsel must call an expert witness about the problems with eyewitness

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testimony … or risk falling below the minimum requirements of the Sixth
Amendment.” Opening Br. at 38 (quoting Perkins v. McKee, 411 F. App’x 822,

833 (6th Cir. 2011)).9 And that may be true as a general rule. But the
decisions discussed above make clear there are at least some cases involving
eyewitness identifications where the failure to pursue expert testimony does

amount to deficient performance. This is one such case. Indeed, this is an
even easier case than Nolan and Jones because trial counsel actually
recognized the need for expert testimony. Trial counsel’s main error was

failing to take the basic step necessary to request funding from the court.
      3. The Supreme Court’s decision in Hinton v. Alabama, 571 U.S. 263
(2014), further supports the district court’s conclusion. In Hinton, as here,

trial counsel recognized the need for an expert witness (in that case, an
expert to testify about toolmark evidence).          Unlike Clardy’s counsel,
however, trial counsel in Hinton sought funding from the court. And the
court granted the request, but subject to a purported statutory cap. Because
counsel could not find a qualified expert willing to accept the amount the


9 As the district court observed, Perkins was an unpublished opinion where
this Court noted “there [was] nothing … suggesting that [an expert] witness
was imperative.” 411 F. App’x at 833. That is likely because Perkins involved
far more non-eyewitness-identification evidence than was present here. For
instance, the petitioner had been arrested near the scene, tried to flee, and an
accomplice already in police custody tried to signal to him. Id. at 825. It was
not a case that turned solely on an eyewitness identification.

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court had authorized, he went forward with an underqualified expert who
was easily discredited at trial. In fact, however, the trial court was mistaken;

no statutory cap existed. Instead, the relevant statute authorized funding for
expenses “reasonably” incurred. Because trial counsel was unaware of that
provision, the Supreme Court held he performed deficiently by “fail[ing] to

request additional funding.” Id. at 274.
      If trial counsel’s performance was deficient in Hinton, Clardy’s
counsel’s performance was all the more so here. While trial counsel in

Hinton did not request enough funding, Clardy’s counsel did not request any.
And, unlike Clardy’s counsel, the defense lawyer in Hinton did at least find
some expert to testify, even if that expert was underqualified. Clardy’s

counsel, by contrast, just “decided to go ahead with it”—without any expert
at all. (Transcript, RE 10-18, PageID # 2205.)
      C.    The State’s contrary arguments lack merit.
      The State’s brief offers several rejoinders, but they are unpersuasive.
      1. The State first argues that trial counsel could not have requested
funding because she had not identified an expert. See Opening Br. 40-43. For
this argument, the State relies on the text of the relevant state court rule,
which requires a party seeking funding for an expert witness to identify the
expert by name in the motion and specify the proposed hourly rate. See
Tenn. S. Ct. R. 13 § 5(b)(2). According to the State, trial counsel had not
identified an expert and so could not have filed a motion.

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      The State has forfeited this argument. The State never cited the state
court rule in the state courts, and it never once argued that trial counsel could

not have moved for funding on that basis. Even more importantly, the State
never raised the argument in this action until after the magistrate judge
recommended granting Clardy’s petition.                (See Obj. to Report &

Recommendation, RE 28, PageID # 2987.) Indeed, the rule is cited nowhere
in the State’s answer to the petition. (See Answer, RE 12, PageID # 2849-73.)
The district court thus correctly held that the argument was not preserved.

(Memorandum, RE 34, PageID # 3074); see also Morgan v. Trierweiler, 67 F.4th
362, 367 (6th Cir. 2023) (“[I]ssues raised for [the] first time in objections to [a]
magistrate judge’s report and recommendation are deemed waived.”).

      Nonetheless, the district court also determined that the forfeited
argument failed on the merits, and rightly so.            At the post-conviction
hearing, Clardy’s counsel did not say that she could not find an expert
willing to testify, just that she could not find one who would accept what
she guessed the state would pay. But trial counsel never bothered to confirm
how much the state would pay. At a minimum, counsel should have
requested adequate funding for at least one of the many experts with whom
she described speaking, even if she suspected that the court would have




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denied the request.10 Asking for funding certainly would not have put
Clardy in any worse position. It was trial counsel’s failure to even make the

request that made her performance deficient.
     In a related argument, the State now also contends—for the first time
on appeal—that counsel could not have requested the necessary funding

because the rule provides a maximum hourly rate for psychologists of $150.
See Opening Br. at 41-42 (citing Tenn. S. Ct. R. 13 § 5(d)(1)(D)). The State
insists, without citing any evidence, that trial counsel could not find an

expert willing to accept that hourly rate. But trial counsel never said what
hourly rate the experts with whom she spoke were willing to accept.
Presumably, though, it was something less than $150, given trial counsel’s

testimony that she did not know “any reason why the Court wouldn’t have
approved” funding. (Transcript, RE 10-18, PageID # 2213.) To that point,
trial counsel’s testimony made clear that her concern was based not on
whether the court would approve an hourly rate—or even total fees—that an
expert was willing to accept, but on her speculation about whether the
Administrative Office of the Courts would actually pay the fees that were




10 The rule provides that the court may grant “prior authorization” for
funding “in a reasonable amount to be determined by the court.” Tenn. S.
Ct. R. 13 § 5(a)(1).

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billed.11 (Id. at PageID # 2204-05.) As the district pointed out, that is no
excuse for failing to request approval for funding in the first place. In any

event, this argument about the maximum hourly rate has also been forfeited
by the State because the State did not raise it in the district court. In fact, the
State never even mentioned the $150 rate cap below. See Est. of Barney v. PNC

Bank, 714 F.3d 920, 925 (6th Cir. 2013) (“In general, we will not review
arguments or issues that a party raises for the first time on appeal.”).
      2. Trying a different tack, the State next characterizes trial counsel’s

failure to request funding as some kind of “strategic” decision entitled to
deference. According to the State, trial counsel made a reasonable tactical
choice to attack the identification through cross-examination and closing

argument rather than expert testimony. See Opening Br. 43-46. That is pure
revisionist history. Trial counsel unequivocally testified that she recognized
the importance of an expert, wanted to find one, and made some efforts to
find one. She abandoned that strategy only once she concluded—based on
nothing but her own speculation—that the court would not pay fees that any
expert would accept. Her testimony thus makes clear that she did not make



11 Nor does anything in trial counsel’s testimony suggest that the hourly rate
was even the focus of her concern, rather than the total fees. The State’s
assertion that trial counsel “could not find an expert willing to testify at the
rate that the State would reimburse” (Opening Br. at 42) is thus nothing but
sheer speculation.

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a “strategic” choice to forgo expert testimony in favor of other means of
impeachment. See, e.g., Dugas v. Coplan, 428 F.3d 317, 333 (1st Cir. 2005)

(criticizing the argument that “counsel made a tactical decision to forego
expert consultation” as being “inconsistent with how counsel actually
proceeded” and “more a post-hoc rationalization of counsel’s conduct than

an accurate description”).
      Even if the decision not to request the necessary funding can itself be
characterized as a “strategic” decision, it certainly was not a reasonable one.

As the district court observed, there is no legitimate tactical reason that
would justify not at least asking for funding for an expert witness that trial
counsel herself thought was important to Clardy’s defense. And, without

bothering to confirm whether adequate funding would be available, trial
counsel’s decision to instead rely on cross-examination and other means for
impeaching the identification cannot be considered an informed strategic
choice. Once trial counsel concluded an expert witness was worth pursuing,
basic professional norms required her to at least ask the court for the
necessary funding. See, e.g., Stermer v. Warren, 959 F.3d 704, 739 (6th Cir.
2020) (“In a duel, it might be a reasonable choice to elect a swordfight over
pistols, but once you choose the latter, it makes no sense to show up without
any bullets.”).
      3.    In one last effort to justify trial counsel’s neglect, the State cites
her testimony that she listened to Dr. Neuschatz at the post-conviction

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hearing and that “some of the juries that [she had] dealt with would have
hated” him. Opening Br. at 45 (quoting Transcript, RE 10-18, PageID # 2233).

Based on this testimony, the State asserts that trial counsel’s “skepticism
about Dr. Neuschatz’s testimony” was “a perfectly valid reason not to seek
an expert.” Opening Br. at 46.

      The district court correctly dismissed this argument as a “red herring.”
Trial counsel’s personal opinion about Dr. Neuschatz, years after trial, is
irrelevant. Her own testimony, after all, was that she did not pursue an

expert because she did not believe she could obtain the necessary funding,
not because she questioned an expert’s value. The State cannot prevail by
conjuring up strategic rationales that, hypothetically, could have motivated

counsel’s choices at the time of trial, but plainly did not. See Marcrum v.
Luebbers, 509 F.3d 489, 502 (8th Cir. 2007) (“[W]hen a petitioner shows that
counsel’s actions actually resulted from inattention or neglect, rather than
reasoned judgment, the petitioner has rebutted the presumption of strategy,
even if the government offers a possible strategic reason that could have, but
did not, prompt counsel’s course of action.”).
II.   Trial counsel’s deficient performance prejudiced Clardy’s defense.
      Trial counsel’s deficient performance prejudiced Clardy’s defense.
Prejudice here is “abundantly clear,” and the TCCA’s contrary conclusion
was an unreasonable application of Strickland.        (Memorandum, RE 34,
PageID # 3082.)

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      A.    AEDPA does not bar relief because the TCCA unreasonably
            applied Strickland’s prejudice standard.

      The TCCA’s conclusion that Clardy was not prejudiced by his
counsel’s failure to seek expert testimony rested on an unreasonable
application of Strickland’s prejudice standard. AEDPA therefore does not
bar relief, and this Court should evaluate prejudice de novo. See Panetti v.
Quarterman, 551 U.S. 930, 953 (2007) (“When a state court’s adjudication of a

claim is dependent on an antecedent unreasonable application of federal
law, … [a] federal court must then resolve the claim without the deference
AEDPA otherwise requires.”).
      The TCCA’s prejudice analysis occupied all of two sentences in its
opinion. The TCCA first noted that “Dr. Neuschatz could not opine as to the
correctness of Kent’s identification.” Clardy II, 2018 WL 5046032, at *7. It

then concluded that “[m]erely giving a jury more information to consider
without negating the identification does not establish a reasonable
probability … that the result of the proceeding would have been different.”
Id. That short-shrift analysis was not a reasonable application of Strickland
for several reasons.
      1. First, there is no reasonable basis for the TCCA’s suggestion that

showing prejudice would require Dr. Neuschatz’s testimony to “negat[e]”
Kent’s identification. As the TCCA itself recognized, Kent’s identification
was “the only thing linking [Clardy] to the crime.” Id. at *4. If Kent’s


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identification was incorrect—if it was someone other than Clardy whom he
saw—that would necessarily mean Clardy was innocent. So, at least on these

facts, “negating” the identification is the same as conclusively proving actual
innocence. And yet that is not remotely what Strickland’s prejudice standard
requires.12   See Strickland, 466 U.S. at 693-94 (rejecting an “outcome-

determinative” standard for assessing prejudice); Bigelow v. Williams, 367
F.3d 562, 570 (6th Cir. 2004) (to show Strickland prejudice, a petitioner “need
not conclusively demonstrate his ‘actual innocence’”).

      2. The TCCA’s analysis ran even further off course when the court
suggested Clardy had not shown prejudice because Dr. Neuschatz’s
testimony would have “[m]erely” given the jury “more information to

consider.” Clardy II, 2018 WL 5046032, at *7. As the district court correctly
recognized, giving the jury more information was “exactly the point.”
(Memorandum, RE 34, PageID # 3078.)             The very purpose of expert



12 Consider the Schlup “gateway innocence” standard, which requires
showing that it is “more likely than not that no reasonable juror would have
convicted” in light of new evidence. Schlup v. Delo, 513 U.S. 298, 327 (1995).
That standard requires “a stronger showing than that needed to establish
[Strickland] prejudice.” Id. And yet, the Supreme Court has found that
higher standard satisfied even where new evidence only “called into
question” the proof connecting a petitioner to the crime and some evidence
“still supported[ed] an inference of guilt.” House v. Bell, 547 U.S. 518, 553-54
(2006).

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testimony in this context is to provide jurors with more information about
how and why eyewitness identifications are unreliable, because such

information will likely affect the weight that jurors give the identification.13
When an eyewitness identification is the only evidence of guilt, any change
to that weight at least has the potential to alter the outcome. The TCCA’s

reasoning thus reflects a fundamental misunderstanding of how Strickland’s
prejudice standard works.14
      3. Finally, the district court also correctly observed that the TCCA

“clearly did not assess the effect of [trial counsel’s] error in light of the
totality of the circumstances.” (Memorandum, RE 34, PageID # 3079.) When




13 This also explains why the first sentence of the TCCA’s prejudice analysis
is misguided. By pointing out that Dr. Neuschatz “could not opine as to the
correctness” of the identification, the court seemed to suggest that prejudice
would exist only if he could. Clardy II, WL 5046032, at *7. But “no expert
may testify as to what a witness did or did not see.” Smithers, 212 F.3d at 317
n.3. So, if the TCCA's view were correct, the absence of expert testimony on
eyewitness identifications could never establish prejudice.

14 The Supreme Court has itself found Strickland prejudice where an
attorney’s deficient performance deprived jurors of more information to
consider—even when that information would not have negated the other
relevant evidence. See Williams, 529 U.S. at 398 (holding that mitigation
evidence counsel failed to present at sentencing “might well have influenced
the jury’s appraisal” of the defendant’s culpability even though that
evidence “may not have overcome” or “undermined” the state’s evidence).

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assessing Strickland prejudice, a court “must consider the totality of the
evidence before the judge or jury” to determine whether counsel’s errors

changed “the inferences to be drawn from the evidence” or “alter[ed] the
entire evidentiary picture.” Strickland, 466 U.S. at 695-96. Here, there is no
sign that the TCCA did so.         Instead, it evaluated prejudice only with

reference to whether the expert testimony would have “negat[ed]” the
identification itself. Nor is there any indication that the court considered the
expert testimony in light of the other extensive evidence of innocence

presented at the post-conviction hearing. See Wiggins v. Smith, 539 U.S. 510,
536 (2003) (“[W]e evaluate the totality of the evidence—both that adduced at
trial and the evidence adduced in the habeas proceeding[s].” (emphasis in original)

(internal quotation marks omitted)). That error, too, makes the TCCA’s
application of Strickland unreasonable.
      4.   The State’s efforts to rehabilitate the TCCA’s reasoning are
unconvincing. For starters, the State suggests that the TCCA must have
applied Strickland reasonably because it accurately quoted the Strickland
standard. See Opening Br. at 23-24. As the Supreme Court has explained,
however, a state court unreasonably applies clearly established federal law
even when it “identifies the correct governing legal principle” from the
Supreme Court’s decisions “but unreasonably applies that principle to the
facts of the prisoner’s case.” Williams, 529 U.S. at 413. “[I]t is the application,
not the recitation of a standard that matters for § 2254(d) purposes.” Hardy

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v. Chappell, 849 F.3d 803, 819 (9th Cir. 2016); see also, e.g., Sears v. Upton, 561
U.S. 945, 952 (2010) (per curiam) (“Although the Court appears to have

stated the proper [Strickland] prejudice standard, it did not correctly
conceptualize how that standard applies to the circumstances of this case.”);
Jells v. Mitchell, 538 F.3d 478, 491-92 (6th Cir. 2008) (holding that a state court

unreasonably applied Strickland even though it “correctly identified the
Strickland standard as the governing federal rule”).
      5. This case is not like Rogers v. Mays, 69 F.4th 381 (6th Cir. 2023) (en

banc). There, this Court rejected an ineffective assistance claim arising from
the sentencing phase of a capital case. The petitioner asserted trial counsel
should have presented the sentencing jury what this Court called a “far-

fetched” scientific theory to rebut the possibility that he committed rape,
which was one of several aggravating factors supporting imposition of the
death penalty. The crime of conviction was the grisly murder of a 9-year old
girl, and the evidence of the petitioner’s guilt was overwhelming. See id. at
386-87. Rejecting the ineffective assistance claim, this Court specifically
explained that even if the jury had accepted the “far-fetched” theory—and
thus discounted the evidence of rape—the jury “would still have been
confronted with” many other “highly inflammatory and disturbing facts”
that “would have most likely resulted in the same sentence.” Id. at 392
(internal quotation marks omitted). That is a far cry from this case, where
the only evidence of Clardy’s guilt was one shaky eyewitness identification,

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and the evidence counsel failed to provide the jury was well-accepted
scientific testimony about related reliability issues.

      The State relies on Rogers mostly just to chastise the district court for
supposedly “flyspeck[ing]” the TCCA’s opinion.            Opening Br. at 24-25
(quoting Rogers, 69 F.4th at 391). In Rogers, the state court’s opinion at one

point suggested the petitioner had not established prejudice because the
relevant evidence would not “eliminate or completely discredit” the State’s
proof of rape. Here, the State analogizes that language to the TCCA’s

comment about Clardy needing to “negat[e]” the eyewitness identification.
The State argues that if the language in Rogers did not reflect an unreasonable
application of Strickland, then neither did the TCCA’s analysis here.

Critically, however, the language in Rogers represented just “four words” in
what this Court otherwise described as a “thorough[]” and “careful[]” 75-
page opinion that “faithfully applied the Strickland prejudice standard.”
Rogers, 69 F.4th 390-92. In contrast, the TCCA’s observation here that the
expert testimony did not “negat[e]” Mr. Clardy’s guilt was not just a “stray
thought.” Id. at 391. It was essentially the TCCA’s entire prejudice analysis.
A federal court does not “flyspeck[]” or “nitpick[]” a state court opinion by
zeroing in on the only portion of the opinion that analyzes the relevant issue.
Id. at 393. Rogers does not suggest otherwise.
      6. The State’s brief also relies on the Supreme Court’s decision in
Harrington v. Richter, 562 U.S. 86 (2011), including to argue that the district

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court “overlook[ed] arguments that would otherwise justify the state court’s
result.” Opening Br. at 27. Richter, however, addressed situations where a

state court has rejected a claim on the merits without providing any reasons.
In that unique circumstance, the Supreme Court held that the state court’s
adjudication should be considered reasonable if there is any reasonable basis

that could have supported it. But “Richter does not control” this case. Wilson
v. Sellers, 138 S. Ct. 1188, 1195 (2018). Here, the TCCA did explain why it
concluded Clardy had not established Strickland prejudice. And yet that

explanation did not reflect a reasonable application of the Strickland
standard. So, by urging the Court to give the TCCA’s result the benefit of
all doubt, the State is really asking the Court to ignore what the TCCA

actually said. That is not how AEDPA review works. See id. at 1190, 1195
(noting that, when a state court has explained its decision, federal courts
“focus[]” AEDPA review “exclusively on the actual reasons given” by the
state court, not what reasons “could have supported” the decision).
     B.       The district court correctly concluded that prejudice is
              “abundantly clear.”
     Analyzing Strickland’s prejudice prong de novo, the district court
correctly held that Clardy was prejudiced by the lack of expert testimony.

Any reasonable application of Strickland’s prejudice standard compels that
conclusion.




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      1. The threshold for showing prejudice in this case is inherently low.
Even the State concedes that Kent’s identification of Clardy was essentially

the only evidence of his guilt. And Kent’s testimony was already beset with
credibility problems, including the dramatic changes between his testimony
at trial and statements he originally made to police. Because the evidence

against Clardy was “exceedingly weak” to start, it would not have taken
much to change at least one juror’s mind. (Memorandum, RE 34, PageID #
3080.) That is a critical consideration when assessing prejudice—and one the

TCCA all but ignored. See Strickland, 466 U.S. at 696 (noting that a verdict
“only weakly supported by the record is more likely to have been affected
by errors than one with overwhelming record support”).

      2. Still, without the benefit of expert testimony, it is no surprise that
the jury credited Kent’s identification. “[D]espite its inherent unreliability,
much eyewitness identification evidence has a powerful impact on juries.”
Watkins v. Sowders, 449 U.S. 341, 352 (1981) (Brennan, J., dissenting).
Although “[c]ourts across the country now accept that certain factors can
greatly affect the accuracy of eyewitness identification testimony,” these
factors “remain largely unfamiliar to the average person and often run
counter to the beliefs of jurors.” Jones, 262 A.3d at 1125-26. So, without
expert assistance, jurors are highly likely to place undue weight on
identifications—weight that decades of research show they do not deserve.
See, e.g., Smithers, 212 F.3d at 312 n.1 (“Jurors tend to overestimate the

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accuracy of eyewitness identifications because they do not know the factors
they should consider when analyzing this testimony.”). As this Court has

recognized, the “counter-intuitive” nature of these reliability problems “can
lead to devastating results.”     Id. Indeed, “eyewitness misidentification
accounts for more false convictions in the United States than any other

factor.” Ferensic, 501 F.3d at 478.15
      Expert testimony can—and does—guard against these dangers.
Experts provide the jury with a “scientific, professional perspective” on the

value of eyewitness identifications and the factors that affect their reliability.
Id. at 477. Such testimony “serves to explode common myths about [a
witness’s] capacity for perception,” United States v. Moore, 786 F.2d 1308,

1312 (5th Cir. 1986), and it thus may assist the jury with “weighing
eyewitness evidence to draw the appropriate and necessary conclusions,”
Jones, 262 A.3d at 1128. An expert’s perspective is often “vital” in cases that
turn on eyewitness identifications precisely because it “help[s] jurors
evaluate whether their beliefs about the reliability of eyewitness testimony
are correct.” United States v. Bartlett, 567 F.3d 901, 906 (7th Cir. 2009). Such
testimony has a “powerful effect” on jurors by alerting them that their


15 One analysis has found that eyewitness misidentifications were involved
in 76% of the first 250 cases where wrongfully convicted people were
exonerated by DNA evidence. See Brandon L. Garrett, Convicting the
Innocent: Where Criminal Prosecutions Go Wrong 48-49 (2011).

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everyday assumptions and intuitions about memory are not trustworthy.
Id.; see also Smithers, 212 F.3d at 312 n.1 (“[M]any jurors’ assumptions about

how memories are created are actively wrong.”).
      3. Here, expert testimony would have had an especially powerful
effect on the jury because almost all the individual factors known to reduce

the reliability of eyewitness identifications were present. See, e.g., Jones, 262
A.3d at 1125 (listing factors that “can greatly affect the accuracy of
eyewitness identification testimony”). As Dr. Neuschatz confirmed at the

post-conviction hearing, Kent’s identification of Clardy was cross-racial; the
events at the body shop were complex and stressful; and the shooter was of
course carrying a gun, potentially implicating “weapon focus.” (Transcript,

RE 10-17, PageID ## 2051-64.). Kent also testified that all the assailants were
wearing head coverings; he admitted seeing only the side of the shooter’s
face; he testified he had previously seen Clardy around the neighborhood
(potentially implicating “unconscious transference”); and he did not make
the identification until weeks after the shooting. (Id. at PageID ## 2064-69.)
In addition, the photo array procedure was marked by a failure to follow
best practices. (Id. at PageID ## 2073-77.) The impact these factors have on
reliability is well known to experts, but that impact “remain[s] largely
unfamiliar to the average person.” Jones, 262 F.3d at 1126. Given how weak
the evidence of Clardy’s guilt was to start, had an expert provided a
“scientific, professional perspective” to the jury about the significance of

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these factors, there is more than a reasonable probability that at least one juror
would have had reasonable doubt. Ferensic, 501 F.3d at 477.

      4. Indeed, other courts have found Strickland prejudice from the lack
of expert testimony in cases involving similar factors, and even where there
was far more evidence of the defendant’s guilt. In Nolan, for example, four

eyewitnesses identified the defendant at trial, two of whom testified they
were familiar with him from around the neighborhood and were confident
in their identifications. 956 F.3d at 76-79. Still, the Second Circuit held that

the lack of an eyewitness expert prejudiced the defense. Id. at 82-83.
      In Jones, the D.C. Court of Appeals found prejudice despite two
eyewitness identifications, one of which was made by an observer who was

not even a victim of the crime. 262 A.3d at 1128-30. The defendant’s trial
counsel had sought to undermine the eyewitnesses’ credibility through
cross-examination and closing argument. But the court still unanimously
concluded there was a “reasonable probability that scientific testimony from
an eyewitness expert, in the context of the other evidence at trial, would have
created a reasonable doubt sufficient to forestall conviction.” Id. at 1129.
      This Court has itself twice held that excluding an eyewitness expert
was not harmless to a defendant, and again despite evidence of guilt far
stronger than the evidence against Clardy. See Smithers, 212 F.3d at 309-10
(three eyewitness identifications); Ferensic, 501 F.3d at 471 (two eyewitness
identifications plus identification by a police officer from a sketched

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composite). While the test for harmlessness differs somewhat from the
standard for showing Strickland prejudice, this Court said in Ferensic that it

would have found the state court’s decision unreasonable “even if a traditional
prejudice-based standard were the proper test.” 501 F.3d at 476 (emphasis
added). So Smithers and Ferensic certainly support Clardy’s position, even if

addressing a somewhat different issue.16
      5.   The State contends that the lack of expert testimony did not
prejudice Clardy because his trial counsel still sought to impeach the

identification in other ways, such as cross-examination and closing
argument.17 But this Court has previously rejected that same contention,
holding in Ferensic that “other means of attacking eyewitness identifications



16 The State emphasizes that the Court in Ferensic limited its holding to “the
situation … where the record reflects the doubts of the jury itself as to the
identification.” Ferensic, 501 F.3d at 484. True, but the State also ignores that
the evidence of the defendant’s guilt there was far stronger than the evidence
against Clardy here.

17 The Court’s unpublished decisions in Dorch v. Smith, 105 F. App’x 650 (6th
Cir. 2004), and Johnson v. Rapelje, 2017 WL 8159213 (6th Cir. Sep. 28, 2017),
provide the State little support. In Dorch, the petitioner confessed to a
cellmate, so the three eyewitness identifications were not the linchpin of the
State’s case. Likewise, in Johnson, the petitioner had an obvious motive.
Plus, he failed to “put forward any facts which would suggest that counsel’s
decision not to call an expert witness was unreasonable.” 2017 WL 8159213,
at *3.

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do not effectively substitute for expert testimony on their inherent
unreliability.” 501 F.3d at 481 (internal quotation marks omitted). As the

Court explained there, without expert testimony, jurors will have “no basis
beyond defense counsel’s word to suspect the inherent unreliability” of
identifications. Id. at 482. And counsel’s “arguments,” after all, “are not

evidence.” Id. at 477. Plus, jurors are understandably less likely to trust
arguments and points made by the defendant’s own counsel than they are
testimony by an expert based on science and data. See, e.g., Jones, 262 A.3d

at 1129 (rejecting the argument that counsel’s allusions to “some issues
surrounding eyewitness reliability” eliminated prejudice because counsel
“did not provide the explicit and detailed testimony that an expert would

likely offer”); Ferensic, 501 F.3d at 477 (explaining that an expert “would have
informed the jury of why the eyewitnesses’ identifications were inherently
unreliable”).
      6. Otherwise, the State just incants that the evidence against Clardy
was “incredibly strong”—and thus that prejudice was unlikely—because of
Kent’s “confidence” in the identification. Opening Br. at 9, 27-28, 36. That
argument only shows why expert testimony was necessary. The State, like
most lay jurors, assumes that Kent’s confidence in the identification makes
it more likely to be correct. Decades of empirical evidence shows the
opposite. In fact, research has repeatedly shown that there is barely any
correlation between a witness’s professed confidence in an identification and

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its accuracy—especially when, as here, the identification is not made
immediately after the event.18 (Transcript, RE 10-17, PageID # 2070.) That

the State’s own brief relies on the same kind of misconception that lay jurors
often do shows exactly why an expert’s perspective was crucial—and why
it likely would have made a difference.19 As one court has emphasized,

expert testimony is “the only method of imparting the knowledge
concerning confidence-accuracy correlation to the jury.” United States v.
Brownlee, 454 F.3d 131, 144 (3d Cir. 2006).




18 See also Young v. Conway, 698 F.3d 69, 88-89 (2d Cir. 2012) (citing and
summarizing scientific research showing that “eyewitness confidence is a
poor postdictor of accuracy”); Perry v. New Hampshire, 565 U.S. 228, 264 &
n.10 (2012) (Sotomayor, J., dissenting) (citing research supporting the
conclusion that “confidence is a poor gauge of accuracy” for eyewitness
identifications).

19 The State makes a similar error when it relies on Kent’s alleged familiarity
with Clardy as a basis for concluding that his identification was especially
reliable. Contra the State’s inference, confusing unknown people for familiar
ones is exactly how witnesses often make mistakes. This is the psychological
phenomenon known as “unconscious transference.” (See Transcript, RE 10-
17, PageID # 2067-69.) See also Jones, 262 A.3d at 1125 (noting that
“transference” is one factor that “can greatly affect the accuracy of
eyewitness identification” and that it “occurs when a person seen in one
context is confused with a person seen in another”).

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                               *     *      *
     To establish prejudice, Clardy need only show “a reasonable

probability that at least one juror would have struck a different balance.”
Wiggins, 539 U.S. at 537-38. He has more than made that showing.
                             CONCLUSION

     This Court should affirm the district court’s judgment.

December 15, 2023
                                         Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE
     This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 12,993 words, excluding
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December 15, 2023

                                             s/ Scott D. Gallisdorfer
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              DESIGNATION OF RELEVANT DOCUMENTS
      Under Sixth Circuit Rules 28(b) and 30(g), Petitioner-Appellee

designates the following filings in the district court record as entries relevant
to this appeal:


   Record
    Entry           Description of Record Entry                   PageID#
     No.
      1                     Habeas Petition                         1-84

    10-1                      Indictment                          934-941

    10-1                    Trial Minutes                         981-987
    10-1                   Trial Judgment                         988-993
    10-2                   Trial Transcript                      1004-1167
    10-3                   Trial Transcript                      1168-1401
    10-4                    Trial Exhibits                       1402-1482
    10-5                    Trial Exhibits                       1483-1525
                 Second Amended Petition for Post-
    10-14                                                        1734-1752
                          Conviction Relief
                  State Post-Conviction Trial Court
    10-16                                                        1980-1988
                                Order
    10-17       Post-Conviction Hearing Transcript               2003-2135
    10-18       Post-Conviction Hearing Transcript               2136-2346
    10-20         Post-Conviction Hearing Exhibits               2357-2456
                  Clardy’s Opening Brief (Tenn. Ct.
    10-21                                                        2457-2534
                             Crim. App.)
               Respondent’s Response Brief (Tenn. Ct.
    10-22                                                        2535-2572
                             Crim. App.)
                Clardy’s Reply Brief (Tenn. Ct. Crim.
    10-23                                                        2573-2599
                                App.)
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12           Answer to Habeas Petition                     2849-2873
18          Clardy’s Habeas Reply Brief                    2892-3922
25          Report and Recommendation                      2931-2971
        Respondent’s Objections to Report and
28                                                         2977-2989
                 Recommendation
         Clardy’s Response to Respondent’s
32            Objections to Report and                     3021-3047
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34              Memorandum Opinion                         3064-3082

35           Order Granting Habeas Relief                     3083

36                   Entry of Judgment                        3084

37                   Notice of Appeal                         3085

           Order Granting Stay of Judgment
40                                                            3101
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50                                                            3196
                       Appeal




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                         CERTIFICATE OF SERVICE
     I certify that on December 15, 2023, I electronically filed this brief with

the Clerk of the Court through the CM/ECF system. All participants in this
case are registered CM/ECF users and will be served electronically through
that system.

                                           s/ Scott D. Gallisdorfer
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